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                        iN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                       oc 27     PM   I:   5L4
                                   AUSTIN DIVISION

JUNIOR VOLLEYBALL
ASSOCIATION OF AUSTIN D/B/A
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                                                  §
AUSTIN SPORTS CENTER, AND                          §
AUSTIN SPORTS CENTER, LLC,                         §
             PLAINTIFFS,                           §

                                                        CAUSENO. 1:17-CV-756-LY
                                                   §
SUMMIT HOSTING LLC, F/K/A                          §
SOFTWARE LINK HOSTING, LLC                         §
F/K/A SOFTWARE LINK, INC.,                         §
              DEFENDANTS.                          §

                                                ORDER

       IT IS HEREBY ORDERED that Defendants' Motion to Dismiss Plaintiffs' First

Amended Complaint and Opening Brief in Support (Dkt. No. 31), and all filings related thereto

are   REFERRED to United States Magistrate Judge                   Mark Lane for Report and

Recommendation.   See   28 U.S.C.   §   636(b)(l)(B); Fed. R. Civ. P. 72; W.D. Tex. Appx C, R. 1(d).

       SIGNED this                  day of December, 2017.



                                                       EAKEL
                                                ULEE TED STAT      DISTRICT JUDGE
